    Case 19-10852-TPA              Doc 107-3 Filed 01/29/21 Entered 01/29/21 13:21:43                    Desc
                                   Loan Modification Summary Page 1 of 1
                             IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE:                                                :   Bankruptcy No. 19-10852-TPA
         Derek S. Kerr,                               :
                                     Debtor           :   Chapter 13
                                                      :
         Derek S. Kerr,                               :   Related to Docket No. 107
                                     Movant           :
                         v.                           :
         Quicken Loans, Inc.,                         :
                                     Respondent       :
                                                      :
         Ronda J. Winnecour, Esquire,                 :
         Chapter 13 Trustee,                          :
                       Additional Respondent          :

                                        LOAN MODIFICATION SUMMARY


Property Valuation:        $ 139,500.00                            Source: Quicken Loans, Inc.

Original Loan Amount: $ 110,461.00                                 Origination Date: December 18, 2015

Prepetition Arrears:       $ 9,003.15

               As of Petition Date                                         Under Proposed Modification
                  $110,344.67                  Principal Balance                    $117,004.00
                        3.750%                     Interest Rate                       3.250%
                 January 1, 2046                   Maturity Date                   August 1, 2050
                       $583.34                     P&I Payment                        $509.21
                       $285.90                    Escrow Payment                      $377.48
                       $869.24                    Total Payment                       $886.69
                        $0.00                   Balloon Payment                        $0.00
                        $0.00                 Cumulative Interest                      $0.00
                        79.10%                         LTV                             83.87%
                       $1,340.00                  Ch. 13 Payment                      $1,075.00
                        $0.00                 Ch. 13 Pmt. (Arrears)                    $0.00


Any other term(s) in which there is a substantive difference between the original loan and the proposed
modified loan:


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